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12
                                  UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN FRANCISCO DIVISION
15     SOCIAL TECHNOLOGIES LLC, a Georgia )        CASE NO.: 3:18-cv-05945-CRB
       limited liability company,            )
16                                           )     DEFENDANT APPLE INC.’S CERTIFICATE
17                      Plaintiff,           )     OF INTERESTED PERSONS PURSUANT TO
                                             )     CIVIL LOCAL RULE 3-15
18             vs.                           )
                                             )     Complaint Filed: September 27, 2018
19     APPLE INC., a California corporation, )
                                             )
20                      Defendant.           )
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      APPLE INC.’S CERTIFICATE OF INTERESTED
      PERSONS PURSUANT TO CIVIL LOCAL RULE 3-15                          CASE NO. 3:18-cv-05945-CRB
            Case 3:18-cv-05945-VC Document 15 Filed 10/02/18 Page 2 of 3



1    TO THE COURT CLERK AND ALL PARTIES OF RECORD:
2           Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other than the
3    named parties, there is no such interest to report.
4
5    DATED: October 2, 2018                                Respectfully submitted,
6
7                                                          By:      /s/ Diana M. Torres
                                                                 Diana M. Torres
8
                                                                 Attorney for Defendant
9                                                                Apple Inc.
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     APPLE INC.’S CERTIFICATE OF INTERESTED
     PERSONS PURSUANT TO CIVIL LOCAL RULE 3-15                                       CASE NO. 3:18-cv-05945-CRB
           Case 3:18-cv-05945-VC Document 15 Filed 10/02/18 Page 3 of 3



1                                     CERTIFICATE OF SERVICE
2           On October 2, 2018, I electronically filed the foregoing with the Clerk of the Court by using
3    CM/ECF system which will send a notice of electronic filing to all persons registered for ECF. All
4    copies of documents required to be served by Fed. R. Civ. P. 5(a) and L.R. 5-1 have been so served.
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                                                         /s/ Diana M. Torres
6                                                        Diana M. Torres
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     APPLE INC.’S CERTIFICATE OF INTERESTED
     PERSONS PURSUANT TO CIVIL LOCAL RULE 3-15                                 CASE NO. 3:18-cv-05945-CRB
